             Case 24-00139                Filed 08/19/24         Entered 08/19/24 11:37:00                   Doc# 1        Page 1 of 57
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ALASKA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Whittier Seafood, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  375 E. Whittier Street                                          3 Lake Bellevue Drive, Suite 201
                                  Whittier, AK 99693                                              Bellevue, WA 98005
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Valdez Cordova                                                  Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.whittierseafood.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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          Whittier Seafood, LLC
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3117

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                          Case number
                                                District                                 When                          Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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                                                                                             Case number (if known)
                                                                                                                                       Page 3 of 57
          Whittier Seafood, LLC
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                   Relationship
                                                     District                                 When                            Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Debtor
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          Whittier Seafood, LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 19, 2024
                                                  MM / DD / YYYY


                             X /s/ Aleksey Kozlov                                                        Aleksey Kozlov
                                 Signature of authorized representative of debtor                        Printed name

                                 Title    Authorized Representative




18. Signature of attorney    X /s/ Thomas A. Buford                                                       Date August 19, 2024
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Thomas A. Buford
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (206) 292-2110                Email address      tbuford@bskd.com

                                 1805046 AK
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                                   LIMITED LIABILITY COMPANY RESOLUTION
                                              Whittier Seafood, LLC

                  WHEREAS, Whittier Seafood, LLC, an Alaska limited liability company (the
             "Company") is experiencing significant financial challenges; and

                    WHEREAS, the undersigned is the sole Member of the Company (the “Member”); and

                    WHEREAS, it is the opinion of the Member that the only reasonable and prudent
             response to the Company’s financial circumstances is the filing of a voluntary petition in
             bankruptcy seeking protection and reorganization under Chapter 11 of the United States
             Bankruptcy Code; and

                    WHEREAS, the Company has selected the law firm of Bush Kornfeld LLP (“Bush
             Kornfeld”) to represent the Company’s interest in the Chapter 11 proceeding.

                  NOW, THEREFORE, the undersigned Member consents to the following action by the
             Company:

                    RESOLVED, that the Company shall employ Bush Kornfeld to represent it in the
             Chapter 11 proceedings, and shall seek to have that employment approved by the Bankruptcy
             Court as soon as is practicable; and it is

                     FURTHER RESOLVED, that the Company is hereby authorized to retain such other
             professional consultants on such terms of employment as are required in order to act in the best
             interests of the Company in prosecuting the Chapter 11 proceeding; and it is

                     FURTHER RESOLVED, that Aleksey Kozlov, an Authorized Person of the Company, is
             hereby authorized and directed to take such steps and execute such documentation as is required
             in order to effectuate any and all of the foregoing; and it is

                    FURTHER RESOLVED, that Aleksey Kozlov, an Authorized Person of the Company, is
             hereby authorized and directed to cause the Company to file a Chapter 11 bankruptcy.

                    DATED this ______ day of August, 2024.



             PRINCE WILLIAM SOUND VENTURES, LLC
                  By: Worldwide Food Solutions, LLC, its manager
                  ____________________
                  By: Roger Stiles, President




                                                             5

2837 hh16j6017p
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Fill in this information to identify the case:

Debtor name         Whittier Seafood, LLC

United States Bankruptcy Court for the:     DISTRICT OF ALASKA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 19, 2024                 X /s/ Aleksey Kozlov
                                                           Signature of individual signing on behalf of debtor

                                                            Aleksey Kozlov
                                                            Printed name

                                                            Authorized Representative
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Whittier Seafood, LLC
 United States Bankruptcy Court for the: DISTRICT OF ALASKA                                                                                  Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Alaska Marine Lines                                 Outbound Freight                                                                                          $206,812.70
 (AML)
 PO Box 34026              1 (855) 620-7821
 Seattle, WA
 98124-1026
 Bank of America CC                                                                                                                                              $16,550.13
 2729
 PO Box 15796
 Wilmington, DE
 19886-5796
 C.A.T Transport                                                                                                                                                 $29,914.18
 P.O. Box 220067
 Anchorage, AK
 99522-0067
 CBIZ Berntson                                                                                                                                                   $17,222.50
 Porter
 11100 NE 8th Street       (425) 289-7601
 Bellevue, WA 98004
 City of Whittier                                                                                                                                              $107,210.24
 Harbor
 PO Box 639                (907) 472-2327
 Whittier, AK 99693
 City of                                                                                                                                                         $88,406.21
 Whittier-Utilities
 660 E Whittier Street
 Whittier, AK 99693
 Dojer Services                                                                                                                                                  $33,000.00
 PO Box 669                markm@jenacom.c
 Whittier, AK 99693        om
                           (907) 382-7630
 Grainger                                                                                                                                                        $31,810.73
 Dept. 886688583
 Kansas City, MO
 64141
 Lynden International                                                                                                                                          $305,829.34
 PO Box 34026         arcustomersvc@ly
 Seattle, WA 98124    nden.com
                      1 (888) 735-1081

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
              Case 24-00139            Filed 08/19/24             Entered 08/19/24 11:37:00                         Doc# 1            Page 9 of 57

 Debtor    Whittier Seafood, LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Motion & Flow                                                                                                                                                   $28,228.27
 Control Products
 Inc - WS                  (907) 563-5565
 8433 Solution
 Center
 Chicago, IL
 60677-8004
 NAFS - WS                                                                                                                                                       $92,324.65
 3213 W Wheeler St
 #249
 Seattle, WA 98199
 Ozone International                                                                                                                                             $36,236.12
 Financial Srvcs
 P.O. Box 848779           (831) 247-5553
 Los Angeles, CA
 98084-8779
 Pacific Power                                                                                                                                                   $31,194.41
 Group, LLC
 c/o City National         (800) 882-3860
 Bank of Florida
 Miami, FL
 33152-6904
 Pallet Services of                                                                                                                                              $39,140.00
 Alaska                    pallet.tom@icloud.
 6906 Hyatt St.            com
 Anchorage, AK             (907) 862-7078
 99507
 Parity Factory LLC                                                                                                                                              $18,737.86
 109 West Denny
 Way #315
 Seattle, WA 98119
 Ryco Equipment                                                                                                                                                  $70,611.16
 6810 220th St SW
 Mountlake Terrace,        (425) 744-0444
 WA 98043
 Seattle-Tacoma Box                                  Packaging                                                                                                 $422,106.04
 Company                                             Supplies
 23400 71st Place          (253) 854-9700
 South
 Kent, WA 98032
 Tote Maritime                                                                                                                                                   $21,230.63
 Alaska
 PO Box 24457              1 (800) 426-0074
 Seattle, WA
 98124-0457
 U.S. Small Business                                 PPP loan                                                                                                    $89,750.59
 Admin
 Legal Dept.
 2401 Fourth Ave.
 #400
 Seattle, WA 98121



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
             Case 24-00139            Filed 08/19/24             Entered 08/19/24 11:37:00                         Doc# 1            Page 10 of 57

 Debtor    Whittier Seafood, LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Wesmar Company,                                                                                                                                                 $34,254.53
 Inc
 5720 204th St. SW         (425) 248-4300
 Lynnwood, WA
 98036




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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Fill in this information to identify the case:

Debtor name           Whittier Seafood, LLC

United States Bankruptcy Court for the:                      DISTRICT OF ALASKA

Case number (if known)
                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                     $       17,656,328.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                        $        9,169,986.41

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                       $       26,826,314.41


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                     $       19,331,916.64


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                        $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                +$        2,022,512.26


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                              $         21,354,428.90




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
          Case 24-00139             Filed 08/19/24            Entered 08/19/24 11:37:00                      Doc# 1         Page 12 of 57
Fill in this information to identify the case:

Debtor name          Whittier Seafood, LLC

United States Bankruptcy Court for the:      DISTRICT OF ALASKA

Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest
2.         Cash on hand                                                                                                                                      $0.00



3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Wells Fargo Bank #4919                            Checking                              4919                                    $73,624.60




           3.2.     Cathay Bank                                       Checking                              2161                                     $1,297.73




           3.3.     Bank of America                                   Checking                              2626                                $1,694,268.15



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                 $1,769,190.48
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.         Deposits, including security deposits and utility deposits

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                         page 1
          Case 24-00139                Filed 08/19/24          Entered 08/19/24 11:37:00                    Doc# 1        Page 13 of 57
Debtor            Whittier Seafood, LLC                                                      Case number (If known)
                  Name

           Description, including name of holder of deposit


           7.1.     Deposits                                                                                                               $8,294.45



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepayments                                                                                                           $72,164.66




9.         Total of Part 2.                                                                                                           $80,459.11
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.        Accounts receivable
           11a. 90 days old or less:                     15,233.71      -                                   0.00 = ....                   $15,233.71
                                         face amount                           doubtful or uncollectible accounts




           11b. Over 90 days old:                       101,728.36      -                          101,728.36 =....                             $0.00
                                         face amount                           doubtful or uncollectible accounts



12.        Total of Part 3.                                                                                                           $15,233.71
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

           General description                Date of the last              Net book value of         Valuation method used     Current value of
                                              physical inventory            debtor's interest         for current value         debtor's interest
                                                                            (Where available)

19.        Raw materials

20.        Work in progress

21.        Finished goods, including goods held for resale
           Finished goods
           inventory                                                                       $0.00                                                $1.00


Official Form 206A/B                                   Schedule A/B Assets - Real and Personal Property                                         page 2
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Debtor        Whittier Seafood, LLC                                                          Case number (If known)
              Name



22.        Other inventory or supplies
           Other inventory/supplies                                                $403,127.11                                          $403,127.11



23.        Total of Part 5.                                                                                                         $403,128.11
           Add lines 19 through 22. Copy the total to line 84.

24.        Is any of the property listed in Part 5 perishable?
               No
              Yes

25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
              No
              Yes. Book value                               Valuation method                             Current Value

26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
              No
              Yes

Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used     Current value of
                                                                          debtor's interest          for current value         debtor's interest
                                                                          (Where available)

39.        Office furniture

40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           Software and Hardware - See Attached                                       $1,000.00      Cost Basis                          $58,303.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                             $58,303.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 3
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Debtor        Whittier Seafood, LLC                                                     Case number (If known)
              Name

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

           General description                                         Net book value of        Valuation method used       Current value of
           Include year, make, model, and identification numbers       debtor's interest        for current value           debtor's interest
           (i.e., VIN, HIN, or N-number)                               (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.    Vehicles - See Attached                                   $446,144.00       Cost Basis                           $446,144.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Production Equipment - See Attached                              $6,397,528.00       Cost Basis                         $6,397,528.00



51.        Total of Part 8.                                                                                                    $6,843,672.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and            Net book value of        Valuation method used   Current value of
           property                              extent of             debtor's interest        for current value       debtor's interest
           Include street address or other       debtor's interest     (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Real Estate in
                    Whittier, Alaska - See       Fee Simple,
                    Attached                     100%                       $3,019,828.00       FMV                              $10,328,164.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 4
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Debtor        Whittier Seafood, LLC                                                        Case number (If known)
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           55.2.
                    Seafood Plant - See           Fee Simple,
                    Attached                      100%                        $4,067,789.00           FMV                            $7,328,164.00




56.        Total of Part 9.                                                                                                      $17,656,328.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.whittierseafoods.com                                                     $0.00                                                 $0.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 5
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            Name


     No. Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                        Schedule A/B Assets - Real and Personal Property                        page 6
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Debtor          Whittier Seafood, LLC                                                                               Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                        $1,769,190.48

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $80,459.11

82. Accounts receivable. Copy line 12, Part 3.                                                                     $15,233.71

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $403,128.11

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $58,303.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $6,843,672.00

88. Real property. Copy line 56, Part 9.........................................................................................>                     $17,656,328.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $9,169,986.41            + 91b.           $17,656,328.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $26,826,314.41




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 7
       Case 24-00139                       Filed 08/19/24            Entered 08/19/24 11:37:00                   Doc# 1         Page 19 of 57
Fill in this information to identify the case:

Debtor name         Whittier Seafood, LLC

United States Bankruptcy Court for the:           DISTRICT OF ALASKA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Cathay Bank                                  Describe debtor's property that is subject to a lien             $19,326,374.20                   Unknown
      Creditor's Name                              All assets other than real estate
      6320 Canoga Ave. #910
      Woodland Hills, CA 91367
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      12/28/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Ferguson Enterprises LLC                     Describe debtor's property that is subject to a lien                     $5,542.44                     $0.00
      Creditor's Name

      PO Box 847411
      Dallas, TX 75284-7411
      Creditor's mailing address                   Describe the lien
                                                   Judgement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      7/16/2024                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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Debtor      Whittier Seafood, LLC                                                              Case number (if known)
            Name

          No                                      Contingent
          Yes. Specify each creditor,             Unliquidated
      including this creditor and its relative    Disputed
      priority.



                                                                                                                        $19,331,916.
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   64

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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Fill in this information to identify the case:

Debtor name        Whittier Seafood, LLC

United States Bankruptcy Court for the:         DISTRICT OF ALASKA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,697.31
          Alaska Communications                                                Contingent
          PO Box 196666                                                        Unliquidated
          Anchorage, AK 99519                                                  Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Computer, Phone and Internet Expenses
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,569.11
          Alaska Diesel Electric                                               Contingent
          1200 West Int'l Airport RD                                           Unliquidated
          Anchorage, AK 99518                                                  Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $11,124.53
          Alaska Industrial Hardware, Inc.                                     Contingent
          8801 Old Seward Highway                                              Unliquidated
          Anchorage, AK 99515                                                  Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $206,812.70
          Alaska Marine Lines (AML)                                            Contingent
          PO Box 34026                                                         Unliquidated
          Seattle, WA 98124-1026                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Outbound Freight
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 18
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Debtor      Whittier Seafood, LLC                                                           Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,541.00
         Alaska Marine Salvage and Diving LLC                         Contingent
         PO Box 346                                                   Unliquidated
         Girdwood, AK 00099-9587                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,059.00
         Alaska Pallet Services Inc                                   Contingent
         2040 East 79th Ave                                           Unliquidated
         Anchorage, AK 99507                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,408.35
         Alaska Railroad Corporation                                  Contingent
         PO Box 100520                                                Unliquidated
         Anchorage, AK 99510-0520                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent Expense
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,881.00
         Alaska Safety, Inc.                                          Contingent
         4725 Gambell Street                                          Unliquidated
         Anchorage, AK 99503                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,500.00
         Alaska Seafood Marketing Institute                           Contingent
         311 N Franklin St                                            Unliquidated
         Juneau, AK 99801                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $13,110.97
         Alaska Steel Co.                                             Contingent
         6180 Electron DR                                             Unliquidated
         Anchorage, AK 99518                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $399.73
         Alaska Waste                                                 Contingent
         PO Box 7428                                                  Unliquidated
         Pasadena, CA 91109                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 18
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            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,601.00
         Alpine Urgent Care                                           Contingent
         1310 E Dimond BLVD #1                                        Unliquidated
         Anchorage, AK 99515                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,389.93
         Anchorage Sand and Gravel Co. Inc                            Contingent
         1040 O'Malley RD                                             Unliquidated
         Anchorage, AK 99515                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $238.00
         Angelica Zamudio
         Av. Dr. Emigdio Flores 1522 apt 205                          Contingent
         Col. Chapultepec Culiacan                                    Unliquidated
         Sinaloa MEXICO 80040                                         Disputed
         Aurora, CO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,624.00
         AquacultureTalent, Inc.                                      Contingent
         101 Parkshore DR, Ste 100                                    Unliquidated
         Folsom, CA 95630                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $16,550.13
         Bank of America CC 2729                                      Contingent
         PO Box 15796                                                 Unliquidated
         Wilmington, DE 19886-5796                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $363.90
         Battery Specialists of Alaska                                Contingent
         801 East 15th Ave                                            Unliquidated
         Anchorage, AK 99501                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $105.00
         Beacon Occupational Health & Safety                          Contingent
         800 Cordova St                                               Unliquidated
         Anchorage, AK 99501                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 18
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Debtor      Whittier Seafood, LLC                                                           Case number (if known)
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,889.89
         Begich Towers                                                Contingent
         PO Box 725                                                   Unliquidated
         Whittier, AK 99693                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Broughton, Ryan                                              Contingent
         PO Box 264                                                   Unliquidated
         Seward, AK 99664                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice only (owed $6.95)
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,932.12
         Builders Choice                                              Contingent
         3900 C Street                                                Unliquidated
         Anchorage, AK 99503                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $29,914.18
         C.A.T Transport                                              Contingent
         P.O. Box 220067                                              Unliquidated
         Anchorage, AK 99522-0067                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,250.00
         Caine & Weiner (Great American Ins Co)                       Contingent
         P.O. Box 55848                                               Unliquidated
         Sherman Oaks, CA 91413                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $944.29
         Carlile Transportation Systems                               Contingent
         PO Box 84048                                                 Unliquidated
         Seattle, WA 98124-8448                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $272.00
         Carlos Rivera Aquino                                         Contingent
         PO Box 2163                                                  Unliquidated
         Moca, PR 00676                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 18
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            Name

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $17,222.50
         CBIZ Berntson Porter                                         Contingent
         11100 NE 8th Street                                          Unliquidated
         Bellevue, WA 98004                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,510.50
         Central Peninsula Refrigeration                              Contingent
         47130 Harvard Ave                                            Unliquidated
         Soldotna, AK 99669                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,684.00
         Chinook Fire Protection, Inc                                 Contingent
         1221 E 70th Ave                                              Unliquidated
         Anchorage, AK 99518                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,800.43
         Chugach Electric                                             Contingent
         PO Box 196760                                                Unliquidated
         Anchorage, AK 99519                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $107,210.24
         City of Whittier Harbor                                      Contingent
         PO Box 639                                                   Unliquidated
         Whittier, AK 99693                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $88,406.21
         City of Whittier-Utilities                                   Contingent
         660 E Whittier Street                                        Unliquidated
         Whittier, AK 99693                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $259.88
         Clara Fabiola Noguez Serrano                                 Contingent
         Calle 1917, Lago Baljash #96, Unt 10                         Unliquidated
         Aguascalientas, AGS 20200                                    Disputed
         MEXICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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            Name

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,663.00
         CMA CGM (America) LLC                                        Contingent
         5701 Lake Wright DR                                          Unliquidated
         Norfolk, VA 23502                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $150.00
         Communications North                                         Contingent
         PO Box 2009                                                  Unliquidated
         Seward, AK 99664                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $134.88
         Cordova Net Supply                                           Contingent
         PO Box 881                                                   Unliquidated
         Cordova, AK 99574                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,741.23
         Custom Marine Services LLC                                   Contingent
         PO Box 672                                                   Unliquidated
         Whittier, AK 99693                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $33,000.00
         Dojer Services                                               Contingent
         PO Box 669                                                   Unliquidated
         Whittier, AK 99693                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,229.00
         DXP | Alaska Pump & Supply                                   Contingent
         PO Box 840511                                                Unliquidated
         Dallas, TX 75284-0511                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $14,312.24
         Enstar Natural Gas Company                                   Contingent
         P.O. Box 34760                                               Unliquidated
         Seattle, WA 98124-1760                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,573.69
         Fasteners & Fire Equipment, Inc.                             Contingent
         123 East International Airport RD                            Unliquidated
         Anchorage, AK 99518                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Fefelov, Edesy                                               Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,918.49
         Ferguson Enterprises LLC                                     Contingent
         PO Box 847411                                                Unliquidated
         Dallas, TX 75284-7411                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Garvey, Matthew                                              Contingent
         664 Rangeview Ave.                                           Unliquidated
         Homer, AK 99603                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $8.68
         GCI                                                          Contingent
         PO Box 99016                                                 Unliquidated
         Anchorage, AK 99509-9016                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $16,350.00
         General Int'l Freight Forwarders Inc                         Contingent
         100 West Harrison                                            Unliquidated
         Seattle, WA 98119                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $686.00
         Girdwood Health Clinic                                       Contingent
         PO Box 13761                                                 Unliquidated
         Belfast, ME 04915-4028                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Whittier Seafood, LLC                                                           Case number (if known)
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3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $31,810.73
         Grainger                                                     Contingent
         Dept. 886688583                                              Unliquidated
         Kansas City, MO 64141                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,450.00
         Grating Pacific LLC                                          Contingent
         19411 66th Ave South                                         Unliquidated
         Kent, WA 98032                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $51.00
         Gustavo Bracero Reyes                                        Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,400.00
         H & M Bay, Inc.                                              Contingent
         P.O. Box 418578                                              Unliquidated
         Boston, MA 02241-8578                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Outbound Freight
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12.00
         Hand, Eleanor                                                Contingent
         PO Box 2181                                                  Unliquidated
         Cordova, AK 99574                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $172.17
         Harvey, Max                                                  Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $238.00
         Hector Javier Hernandez Salomon                              Contingent
         4564 Meredith St.                                            Unliquidated
         Riverside, CA 92505                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Huffer, Tom                                                  Contingent
         11551 Targhee Lp                                             Unliquidated
         Eagle River, AK 99577                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,895.57
         Hygiena LLC                                                  Contingent
         941 Avenida Acaso                                            Unliquidated
         Camarillo, CA 93012                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,726.32
         Independent Lift of Alaska Inc                               Contingent
         1200 E 70th Ave                                              Unliquidated
         Anchorage, AK 99518                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $216.92
         Integrated Marine Systems Inc.                               Contingent
         4816 15th Ave NW                                             Unliquidated
         Seattle, WA 98107                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $550.94
         Irish, Deana                                                 Contingent
         PO Box 5526                                                  Unliquidated
         Ketchikan, AK 99901                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $15,162.20
         JAG Alaska, Inc.                                             Contingent
         PO Box 969                                                   Unliquidated
         Seward, AK 99664-0969                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Johannessen, David                                           Contingent
         PO Box 474                                                   Unliquidated
         Cordova, AK 99574                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,720.98
         John Just                                                    Contingent
         10425 62nd DR NE                                             Unliquidated
         Marysville, WA 98270-2853                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $416.51
         Jonathan Neil & Associates, Inc.                             Contingent
         18321 Ventura BLVD #1000                                     Unliquidated
         Tarzana, CA 91356                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $374.00
         Jonathan Quintanilla                                         Contingent
         2610 Mill Bay Rd Apt B-2                                     Unliquidated
         Kodiak, AK 99615                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $374.00
         Jose Morales                                                 Contingent
         822 Almasy Dr                                                Unliquidated
         Campbell, OH 44405                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $374.00
         Joseph Soriano                                               Contingent
         34 Randall Ln                                                Unliquidated
         Santa Rosa, CA 95409                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $374.00
         Joshua Hernandez                                             Contingent
         609 Kendal Lane                                              Unliquidated
         League City, TX 77573                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $34.00
         Julian Barreto Gonzales                                      Contingent
         PO Box 2262                                                  Unliquidated
         Moca, PR 00676                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Keelean, Cass                                                Contingent
         PO Box 298                                                   Unliquidated
         Ester, AK 99725                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $51.00
         Kelvin Feliciano Chaparro                                    Contingent
         PO Box 706                                                   Unliquidated
         Aguada PR 00602                                              Disputed
         PUERTO RICO
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,504.44
         Kenai Peninsula Borough                                      Contingent
         PO Box 3040                                                  Unliquidated
         Soldotna,, AK 99669                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Tax Expense - Property
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,740.22
         Kwik Lok                                                     Contingent
         P O Box 9548                                                 Unliquidated
         Yakima, WA 98909                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $13,395.20
         LHH Recruitment Solutions                                    Contingent
         SwiftGateway915                                              Unliquidated
         Bellevue, WA 98005                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $800.00
         Lineage Logistics, LLC                                       Contingent
         P.O. Box 101389                                              Unliquidated
         Pasadena, CA 91189                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Storage Expense
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $305,829.34
         Lynden International                                         Contingent
         PO Box 34026                                                 Unliquidated
         Seattle, WA 98124                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,250.32
         Marel Inc.                                                   Contingent
         Dept CH 17141                                                Unliquidated
         Palatine, IL 60055-7141                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,300.00
         Marine Surveyors and Consultants                             Contingent
         PO BOX 22123                                                 Unliquidated
         Milwaukie, OR 97269-2123                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,849.06
         Mark S Millspaugh                                            Contingent
         193 Lee Dr                                                   Unliquidated
         Homer, AK 99603                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6.29
         Martushev, Zasima                                            Contingent
         PO Box 805                                                   Unliquidated
         Homer, AK 99603                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,293.44
         Matheson Tri-Gas Inc.                                        Contingent
         Dept LA 23793                                                Unliquidated
         Pasadena, CA 91185-3793                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,925.00
         Montgomery Purdue                                            Contingent
         701 Fifth Ave #5500                                          Unliquidated
         Seattle, WA 98104                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $28,228.27
         Motion & Flow Control Products Inc - WS                      Contingent
         8433 Solution Center                                         Unliquidated
         Chicago, IL 60677-8004                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $15,893.00
         Multifrost                                                   Contingent
         101 W Fir                                                    Unliquidated
         Othello, WA 99344-1060                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $550.00
         Multistar Industries                                         Contingent
         101 W Fir Street                                             Unliquidated
         Othello, WA 99344                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $92,324.65
         NAFS - WS                                                    Contingent
         3213 W Wheeler St #249                                       Unliquidated
         Seattle, WA 98199                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,818.94
         North Coast Electric Co                                      Contingent
         PO Box 748177                                                Unliquidated
         Los Angeles, CA 90074-8177                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $10,142.72
         NSF Certification LLC                                        Contingent
         Dept. Lockbox #771380                                        Unliquidated
         Detroit, MI 48277-1380                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $34.22
         Otoole, Kevin                                                Contingent
         PO Box 65                                                    Unliquidated
         Cordova, AK 99574                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $36,236.12
         Ozone International Financial Srvcs                          Contingent
         P.O. Box 848779                                              Unliquidated
         Los Angeles, CA 98084-8779                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 13 of 18
         Case 24-00139               Filed 08/19/24         Entered 08/19/24 11:37:00                           Doc# 1            Page 34 of 57
Debtor      Whittier Seafood, LLC                                                           Case number (if known)
            Name

3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $31,194.41
         Pacific Power Group, LLC                                     Contingent
         c/o City National Bank of Florida                            Unliquidated
         Miami, FL 33152-6904                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $39,140.00
         Pallet Services of Alaska                                    Contingent
         6906 Hyatt St.                                               Unliquidated
         Anchorage, AK 99507                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $18,737.86
         Parity Factory LLC                                           Contingent
         109 West Denny Way #315                                      Unliquidated
         Seattle, WA 98119                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $26.41
         Pavel Varfolomeev                                            Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $14,750.76
         Peninsula Scale Service Inc                                  Contingent
         P O Box 3304                                                 Unliquidated
         Kenai, AK 99611                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $336.00
         Pied Piper Pest Control Services                             Contingent
         2440 E 88th AVE A                                            Unliquidated
         Anchorage, AK 99507                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $783.00
         Pioneer Door                                                 Contingent
         6514 Greenwood Street                                        Unliquidated
         Anchorage, AK 99518                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Whittier Seafood, LLC                                                           Case number (if known)
            Name

3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $856.45
         Polar Supply Co                                              Contingent
         P O Box 99060                                                Unliquidated
         Anchorage, AK 99509-9060                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $374.00
         Rebecca Morales                                              Contingent
         822 Almasy DR                                                Unliquidated
         Campbell, OH 44405                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,377.40
         Rent A Can Toilet Co                                         Contingent
         11119 Mausel Street                                          Unliquidated
         Eagle River, AK 99577                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $294.00
         Roger Stiles                                                 Contingent
         36506 SE Woody Creek Lane                                    Unliquidated
         Snoqualmie, WA 98065                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $136.00
         Romel G. Bermudo                                             Contingent
         3014 Wesiayan DR                                             Unliquidated
         Anchorage, AK 99508                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $170.00
         Russ Shaw                                                    Contingent
         General Delivery                                             Unliquidated
         Whittier, AK 99693                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $527.00
         Russel Shaw                                                  Contingent
         1120 Huffman Rd.                                             Unliquidated
         Anchorage, AK 99515                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Whittier Seafood, LLC                                                           Case number (if known)
            Name

3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $70,611.16
         Ryco Equipment                                               Contingent
         6810 220th St SW                                             Unliquidated
         Mountlake Terrace, WA 98043                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $422,106.04
         Seattle-Tacoma Box Company                                   Contingent
         23400 71st Place South                                       Unliquidated
         Kent, WA 98032                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Packaging Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,611.25
         Seward Boat Harbor                                           Contingent
         1300 4th Ave                                                 Unliquidated
         Seward, AK 99664                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,323.20
         Seward Heavy Industrial Power, LLC                           Contingent
         PO Box 789 500 Port Ave.                                     Unliquidated
         Seward, AK 99664                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $225.00
         SGS                                                          Contingent
         200 West Potter DR                                           Unliquidated
         Anchorage, AK 99518                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,831.74
         Spenard Builders Supply                                      Contingent
         PO Box 99060                                                 Unliquidated
         Anchorage, AK 99509-9060                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,440.00
         State of AK Div of Measurement
         Standards & Commercial                                       Contingent
         Vehicle Compliance                                           Unliquidated
         11900 Industry Way                                           Disputed
         Anchorage, AK 99515
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 16 of 18
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Debtor      Whittier Seafood, LLC                                                           Case number (if known)
            Name

3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,715.00
         State of Alaska-DEC                                          Contingent
         PO Box 111800                                                Unliquidated
         Juneau, AK 99811-1800                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $77.00
         Tami Foster                                                  Contingent
         100 Kenai Street, Unit 206                                   Unliquidated
         Whittier, AK 99693                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $250.90
         Tasha Berinobis                                              Contingent
         PO Box 712                                                   Unliquidated
         Whittier, AK 99693                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $21,230.63
         Tote Maritime Alaska                                         Contingent
         PO Box 24457                                                 Unliquidated
         Seattle, WA 98124-0457                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,220.58
         TOTEM Equipment & Supply Inc                                 Contingent
         2536 Commercial DR                                           Unliquidated
         Anchorage, AK 99501                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $89,750.59
         U.S. Small Business Admin                                    Contingent
         Legal Dept.                                                  Unliquidated
         2401 Fourth Ave. #400                                        Disputed
         Seattle, WA 98121
                                                                   Basis for the claim: PPP loan
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $490.54
         United Utilities, Inc                                        Contingent
         PO Box 92730                                                 Unliquidated
         Anchorage, AK 99509-2730                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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             Name

3.117     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $79.36
          UPS                                                                  Contingent
          P.O.Box 809488                                                       Unliquidated
          Chicago,, IL 60680-9488                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.118     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $26.77
          Valihov, Gabriel                                                     Contingent
          P O Box 1585                                                         Unliquidated
          Cordova, AK 99574                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.119     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $34,254.53
          Wesmar Company, Inc                                                  Contingent
          5720 204th St. SW                                                    Unliquidated
          Lynnwood, WA 98036                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                     2,022,512.26

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        2,022,512.26




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 18 of 18
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Fill in this information to identify the case:

Debtor name       Whittier Seafood, LLC

United States Bankruptcy Court for the:     DISTRICT OF ALASKA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Whittier Seafood, LLC

United States Bankruptcy Court for the:   DISTRICT OF ALASKA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Aleksey Kozlov              3 Lake Bellevue Drive                                     Cathay Bank                        D   2.1
                                      Bellevue, WA 98005                                                                           E/F
                                                                                                                                   G




   2.2    Marine Fishing              3 Lake Bellevue Drive                                     Cathay Bank                        D   2.1
          International, Inc.         Bellevue, WA 98005                                                                           E/F
                                                                                                                                   G




   2.3    Marine Fishing              3 Lake Bellevue Drive                                     Cathay Bank                        D   2.1
          International,              Bellevue, WA 98005                                                                           E/F
          LLC
                                                                                                                                   G




   2.4    Modys, LLC                  3 Lake Bellevue Drive                                     Cathay Bank                        D   2.1
                                      Bellevue, WA 98005                                                                           E/F
                                                                                                                                   G




   2.5    Salacia, LLC                3 Lake Bellevue Drive                                     Cathay Bank                        D   2.1
                                      Bellevue, WA 98005                                                                           E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor     Whittier Seafood, LLC                                                   Case number (if known)


          Additional Page to List More Codebtors
          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
           Column 1: Codebtor                                                         Column 2: Creditor



  2.6      Silver Wave, LLC         3 Lake Bellevue Drive                               Cathay Bank                        D   2.1
                                    Bellevue, WA 98005                                                                     E/F
                                                                                                                           G




Official Form 206H                                               Schedule H: Your Codebtors                                      Page 2 of 2
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                                                      United States Bankruptcy Court
                                                                     District of Alaska
 In re    Whittier Seafood, LLC                                                                                   Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Prince William Sound Ventures, LLC                                                100                                        Member
800 North State Street #403
Dover, DE 19901


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Authorized Representative of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



Date August 19, 2024                                                     Signature /s/ Aleksey Kozlov
                                                                                        Aleksey Kozlov

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                United States Bankruptcy Court
                                                           District of Alaska
 In re    Whittier Seafood, LLC                                                                 Case No.
                                                                    Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Authorized Representative of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




Date:     August 19, 2024                               /s/ Aleksey Kozlov
                                                        Aleksey Kozlov/Authorized Representative
                                                        Signer/Title
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      Internal Revenue Service
      Jackson Federal Bldg
      915 2nd Ave M/S W243
      Seattle, WA 98174


      US Treasury
      Secretary of the Treasury
      1500 Pennsylvania Ave NW
      Washington, DC 20220


      US Attorney
      Attn Bankruptcy Assistant
      700 Stewart ST #5220
      Seattle, WA 98101-4438


      Attorney General of the
       United States
      US Department of Justice
      950 Pennsylvania Ave. NW
      Washington, DC 20530-0001


      U.S. Small Business Admin.
      510 L Street
      Room 310
      Anchorage, AK 99501


      Office of the Attorney General (AK)
      Attorney General Treg R. Taylor
      1031 W 4th Ave. #200
      Anchorage, AK 99501


      United States Attorney's Office
      222 W 7th Ave. Rm. 253, #9
      Anchorage, AK 99513


      Alaska Communications
      PO Box 196666
      Anchorage, AK 99519


      Alaska Diesel Electric
      1200 West Int'l Airport RD
      Anchorage, AK 99518


      Alaska Industrial Hardware, Inc.
      8801 Old Seward Highway
      Anchorage, AK 99515
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  Alaska Marine Lines (AML)
  PO Box 34026
  Seattle, WA 98124-1026


  Alaska Marine Salvage and Diving LLC
  PO Box 346
  Girdwood, AK 00099-9587


  Alaska Pallet Services Inc
  2040 East 79th Ave
  Anchorage, AK 99507


  Alaska Railroad Corporation
  PO Box 100520
  Anchorage, AK 99510-0520


  Alaska Safety, Inc.
  4725 Gambell Street
  Anchorage, AK 99503


  Alaska Seafood Marketing Institute
  311 N Franklin St
  Juneau, AK 99801


  Alaska Steel Co.
  6180 Electron DR
  Anchorage, AK 99518


  Alaska Waste
  PO Box 7428
  Pasadena, CA 91109


  Aleksey Kozlov
  3 Lake Bellevue Drive
  Bellevue, WA 98005


  Alpine Urgent Care
  1310 E Dimond BLVD #1
  Anchorage, AK 99515


  Anchorage Sand and Gravel Co. Inc
  1040 O'Malley RD
  Anchorage, AK 99515
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  Angelica Zamudio
  Av. Dr. Emigdio Flores 1522 apt 205
  Col. Chapultepec Culiacan
  Sinaloa MEXICO 80040
  Aurora, CO


  AquacultureTalent, Inc.
  101 Parkshore DR, Ste 100
  Folsom, CA 95630


  Bank of America CC 2729
  PO Box 15796
  Wilmington, DE 19886-5796


  Battery Specialists of Alaska
  801 East 15th Ave
  Anchorage, AK 99501


  Beacon Occupational Health & Safety
  800 Cordova St
  Anchorage, AK 99501


  Begich Towers
  PO Box 725
  Whittier, AK 99693


  Broughton, Ryan
  PO Box 264
  Seward, AK 99664


  Builders Choice
  3900 C Street
  Anchorage, AK 99503


  C.A.T Transport
  P.O. Box 220067
  Anchorage, AK 99522-0067


  Caine & Weiner (Great American Ins Co)
  P.O. Box 55848
  Sherman Oaks, CA 91413


  Carlile Transportation Systems
  PO Box 84048
  Seattle, WA 98124-8448
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  Carlos Rivera Aquino
  PO Box 2163
  Moca, PR 00676


  Cathay Bank
  6320 Canoga Ave. #910
  Woodland Hills, CA 91367


  CBIZ Berntson Porter
  11100 NE 8th Street
  Bellevue, WA 98004


  Central Peninsula Refrigeration
  47130 Harvard Ave
  Soldotna, AK 99669


  Chinook Fire Protection, Inc
  1221 E 70th Ave
  Anchorage, AK 99518


  Chugach Electric
  PO Box 196760
  Anchorage, AK 99519


  City of Whittier Harbor
  PO Box 639
  Whittier, AK 99693


  City of Whittier-Utilities
  660 E Whittier Street
  Whittier, AK 99693


  Clara Fabiola Noguez Serrano
  Calle 1917, Lago Baljash #96, Unt 10
  Aguascalientas, AGS 20200
  MEXICO


  CMA CGM (America) LLC
  5701 Lake Wright DR
  Norfolk, VA 23502


  Communications North
  PO Box 2009
  Seward, AK 99664
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  Cordova Net Supply
  PO Box 881
  Cordova, AK 99574


  Custom Marine Services LLC
  PO Box 672
  Whittier, AK 99693


  Dojer Services
  PO Box 669
  Whittier, AK 99693


  DXP | Alaska Pump & Supply
  PO Box 840511
  Dallas, TX 75284-0511


  Enstar Natural Gas Company
  P.O. Box 34760
  Seattle, WA 98124-1760


  Fasteners & Fire Equipment, Inc.
  123 East International Airport RD
  Anchorage, AK 99518


  Fefelov, Edesy



  Ferguson Enterprises LLC
  PO Box 847411
  Dallas, TX 75284-7411


  Garvey, Matthew
  664 Rangeview Ave.
  Homer, AK 99603


  GCI
  PO Box 99016
  Anchorage, AK 99509-9016


  General Int'l Freight Forwarders Inc
  100 West Harrison
  Seattle, WA 98119
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  Girdwood Health Clinic
  PO Box 13761
  Belfast, ME 04915-4028


  Grainger
  Dept. 886688583
  Kansas City, MO 64141


  Grating Pacific LLC
  19411 66th Ave South
  Kent, WA 98032


  Gustavo Bracero Reyes



  H & M Bay, Inc.
  P.O. Box 418578
  Boston, MA 02241-8578


  Hand, Eleanor
  PO Box 2181
  Cordova, AK 99574


  Harvey, Max



  Hector Javier Hernandez Salomon
  4564 Meredith St.
  Riverside, CA 92505


  Huffer, Tom
  11551 Targhee Lp
  Eagle River, AK 99577


  Hygiena LLC
  941 Avenida Acaso
  Camarillo, CA 93012


  Independent Lift of Alaska Inc
  1200 E 70th Ave
  Anchorage, AK 99518
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  Integrated Marine Systems Inc.
  4816 15th Ave NW
  Seattle, WA 98107


  Irish, Deana
  PO Box 5526
  Ketchikan, AK 99901


  JAG Alaska, Inc.
  PO Box 969
  Seward, AK 99664-0969


  Johannessen, David
  PO Box 474
  Cordova, AK 99574


  John Just
  10425 62nd DR NE
  Marysville, WA 98270-2853


  Jonathan Neil & Associates, Inc.
  18321 Ventura BLVD #1000
  Tarzana, CA 91356


  Jonathan Quintanilla
  2610 Mill Bay Rd Apt B-2
  Kodiak, AK 99615


  Jose Morales
  822 Almasy Dr
  Campbell, OH 44405


  Joseph Soriano
  34 Randall Ln
  Santa Rosa, CA 95409


  Joshua Hernandez
  609 Kendal Lane
  League City, TX 77573


  Julian Barreto Gonzales
  PO Box 2262
  Moca, PR 00676
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  Keelean, Cass
  PO Box 298
  Ester, AK 99725


  Kelvin Feliciano Chaparro
  PO Box 706
  Aguada PR 00602
  PUERTO RICO


  Kenai Peninsula Borough
  PO Box 3040
  Soldotna,, AK 99669


  Kwik Lok
  P O Box 9548
  Yakima, WA 98909


  LHH Recruitment Solutions
  SwiftGateway915
  Bellevue, WA 98005


  Lineage Logistics, LLC
  P.O. Box 101389
  Pasadena, CA 91189


  Lynden International
  PO Box 34026
  Seattle, WA 98124


  Marel Inc.
  Dept CH 17141
  Palatine, IL 60055-7141


  Marine Fishing International, Inc.
  3 Lake Bellevue Drive
  Bellevue, WA 98005


  Marine Fishing International, LLC
  3 Lake Bellevue Drive
  Bellevue, WA 98005


  Marine Surveyors and Consultants
  PO BOX 22123
  Milwaukie, OR 97269-2123
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  Mark S Millspaugh
  193 Lee Dr
  Homer, AK 99603


  Martushev, Zasima
  PO Box 805
  Homer, AK 99603


  Matheson Tri-Gas Inc.
  Dept LA 23793
  Pasadena, CA 91185-3793


  Modys, LLC
  3 Lake Bellevue Drive
  Bellevue, WA 98005


  Montgomery Purdue
  701 Fifth Ave #5500
  Seattle, WA 98104


  Motion & Flow Control Products Inc - WS
  8433 Solution Center
  Chicago, IL 60677-8004


  Multifrost
  101 W Fir
  Othello, WA 99344-1060


  Multistar Industries
  101 W Fir Street
  Othello, WA 99344


  NAFS - WS
  3213 W Wheeler St #249
  Seattle, WA 98199


  North Coast Electric Co
  PO Box 748177
  Los Angeles, CA 90074-8177


  NSF Certification LLC
  Dept. Lockbox #771380
  Detroit, MI 48277-1380
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  Otoole, Kevin
  PO Box 65
  Cordova, AK 99574


  Ozone International Financial Srvcs
  P.O. Box 848779
  Los Angeles, CA 98084-8779


  Pacific Power Group, LLC
  c/o City National Bank of Florida
  Miami, FL 33152-6904


  Pallet Services of Alaska
  6906 Hyatt St.
  Anchorage, AK 99507


  Parity Factory LLC
  109 West Denny Way #315
  Seattle, WA 98119


  Pavel Varfolomeev



  Peninsula Scale Service Inc
  P O Box 3304
  Kenai, AK 99611


  Pied Piper Pest Control Services
  2440 E 88th AVE A
  Anchorage, AK 99507


  Pioneer Door
  6514 Greenwood Street
  Anchorage, AK 99518


  Polar Supply Co
  P O Box 99060
  Anchorage, AK 99509-9060


  Rebecca Morales
  822 Almasy DR
  Campbell, OH 44405
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  Rent A Can Toilet Co
  11119 Mausel Street
  Eagle River, AK 99577


  Roger Stiles
  36506 SE Woody Creek Lane
  Snoqualmie, WA 98065


  Romel G. Bermudo
  3014 Wesiayan DR
  Anchorage, AK 99508


  Russ Shaw
  General Delivery
  Whittier, AK 99693


  Russel Shaw
  1120 Huffman Rd.
  Anchorage, AK 99515


  Ryco Equipment
  6810 220th St SW
  Mountlake Terrace, WA 98043


  Salacia, LLC
  3 Lake Bellevue Drive
  Bellevue, WA 98005


  Seattle-Tacoma Box Company
  23400 71st Place South
  Kent, WA 98032


  Seward Boat Harbor
  1300 4th Ave
  Seward, AK 99664


  Seward Heavy Industrial Power, LLC
  PO Box 789 500 Port Ave.
  Seward, AK 99664


  SGS
  200 West Potter DR
  Anchorage, AK 99518
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  Silver Wave, LLC
  3 Lake Bellevue Drive
  Bellevue, WA 98005


  Spenard Builders Supply
  PO Box 99060
  Anchorage, AK 99509-9060


  State of AK Div of Measurement
  Standards & Commercial
  Vehicle Compliance
  11900 Industry Way
  Anchorage, AK 99515


  State of Alaska-DEC
  PO Box 111800
  Juneau, AK 99811-1800


  Tami Foster
  100 Kenai Street, Unit 206
  Whittier, AK 99693


  Tasha Berinobis
  PO Box 712
  Whittier, AK 99693


  Tote Maritime Alaska
  PO Box 24457
  Seattle, WA 98124-0457


  TOTEM Equipment & Supply Inc
  2536 Commercial DR
  Anchorage, AK 99501


  U.S. Small Business Admin
  Legal Dept.
  2401 Fourth Ave. #400
  Seattle, WA 98121


  United Utilities, Inc
  PO Box 92730
  Anchorage, AK 99509-2730
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  UPS
  P.O.Box 809488
  Chicago,, IL 60680-9488


  Valihov, Gabriel
  P O Box 1585
  Cordova, AK 99574


  Wesmar Company, Inc
  5720 204th St. SW
  Lynnwood, WA 98036
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                                         United States Bankruptcy Court
                                                    District of Alaska
 In re    Whittier Seafood, LLC                                                      Case No.
                                                            Debtor(s)                Chapter    11




                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Whittier Seafood, LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Prince William Sound Ventures, LLC
800 North State Street #403
Dover, DE 19901




  None [Check if applicable]




August 19, 2024                                /s/ Thomas A. Buford
Date                                           Thomas A. Buford
                                               Signature of Attorney or Litigant
                                               Counsel for Whittier Seafood, LLC
                                               Bush Kornfeld LLP
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                                               Seattle, WA 98101-2373
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